     Case 3:17-cv-00939-WHA Document 681-2 Filed 06/21/17 Page 1 of 2




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                               UNITED STATES DISTRICT COURT
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               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA
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                  Plaintiff,                      [PROPOSED] ORDER GRANTING
12                                                PLAINTIFF WAYMO LLC’S
         vs.                                      ADMINISTRATIVE MOTION TO FILE
13                                                UNDER SEAL PORTIONS OF LETTER
   UBER TECHNOLOGIES, INC.;                       BRIEF REGARDING WAYMO’S
14 OTTOMOTTO LLC; OTTO TRUCKING                   MOTION TO COMPEL
   LLC,
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             Defendants.
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                                                                      CASE NO. 3:17-cv-00939-WHA
                                  [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 681-2 Filed 06/21/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 Portions of its June 21, 2017 Letter Brief Regarding Waymo’s Motion to Compel (the “Letter Brief”)

 3 and Exhibits thereto (“Administrative Motion”).

 4          Having considered the Administrative Motion, and good cause to seal having been shown,

 5 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed

 6 below:

 7                    Document                   Portions to Be Filed      Designating Party
                                                      Under Seal
 8       Portions of Waymo’s Letter Brief       Portions highlighted     Defendants
                                                in blue
 9
                                                Portions highlighted     Waymo
10                                              in green
         Exhibit 1 of Waymo’s Letter Brief      Entire Document          Defendants
11       Exhibit 2 of Waymo’s Letter Brief      Portions highlighted     Defendants
                                                in blue
12
         Exhibit 3 of Waymo’s Letter Brief      Portions highlighted     Defendants
13                                              in yellow and blue
         Exhibit 5 of Waymo’s Letter Brief      Entire Document          Defendants
14       Exhibit 6 of Waymo’s Letter Brief      Entire Document          Defendants
         Exhibit 7 of Waymo’s Letter Brief      Entire Document          Defendants
15       Exhibit 8 of Waymo’s Letter Brief      Entire Document          Defendants
16       Exhibit 9 of Waymo’s Letter Brief      Entire Document          Defendants
         Exhibit 13 of Waymo’s Letter Brief     Entire Document          Defendants
17       Exhibit 16 of Waymo’s Letter Brief     Entire Document          Defendants
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            IT IS SO ORDERED.
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     Dated: ______________, 2017
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22                                           HON. WILLIAM ALSUP
                                             United States District Court Judge
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                                                   -2-                   CASE NO. 3:17-cv-00939-WHA
                                     [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
